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UNITED STATES DISTRICT COURT - TLE

FOR THE DISTRICT OF COLUMBIA ANG g6 208
UNITED STATES OF AMERICA 2&8 we

: Clerk, ert nat of ‘co
v. Criminal No. 18-00032-2 (LF)
CONCORD MANAGEMENT AND : UNDER SEAL AND EX PARTE
CONSULTING LLC, :
Defendant.
QRDER

This matter having come before the Court pursuant to the government’s motion for leave
to file submission under seal and ex parte, it is hereby

ORDERED that the government’s motion is GRANTED; and

IT IS FURTHER ORDERED that the Clerk of the Court shall place under seal the
government’s motion for leave to file submission under seal and ex parte and all documents filed

therewith.

August 6, 2018 (Coby = ee

HON. DABNEY L. FRIEDRICH
UNITED STATES DISTRICT JUDGE

 
